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      [additional counsel on signature page]
  7
  8 Attorneys for Plaintiff Lisa Doyle
  9
                          UNITED STATES DISTRICT COURT
 10
                        CENTRAL DISTRICT OF CALIFORNIA
 11
                                  WESTERN DIVISION
 12
 13 LISA DOYLE, DERIVATIVELY AND                Case No: 15-CV-07568-SJO
    ON BEHALF OF RESONANT, INC.,                (MRWx)
 14
             Plaintiff,
 15                                             Hon. S. James Otero
 16          v.
                                                NOTICE OF MOTION AND
 17                                             UNOPPOSED MOTION FOR
      TERRY LINGREN, et al.,
 18                                             PRELIMINARY APPROVAL
                  Defendants,                   OF DERIVATIVE
 19
                  and                           SETTLEMENT
 20
      RESONANT INC.,                            Derivative Action Filed: Sept. 25,
 21
                                                2015
 22               Nominal Defendant.
 23                                             Hearing Date: January 22, 2018
                                                Hearing Time: 10:00 A.M.
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        NOTICE OF MOTION AND UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF DERIVATIVE
                                        SETTLEMENT
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  1                               NOTICE OF MOTION
  2          TO THE COURT AND TO ALL COUNSEL OF RECORD:
  3          PLEASE TAKE NOTICE that on January 22, 2018 at 10:00 a.m., in the above-
  4 captioned court, Plaintiff Lisa Doyle will and hereby does move under Rule 23.1(c)
  5 of the Federal Rules of Civil Procedure, before the Honorable S. James Otero, United
  6 States District Court Judge, in Courtroom 10C in the United States Courthouse,
  7 located at 350 W. 1st Street, Los Angeles, California 90012, for an order granting
  8 preliminary approval of the settlement set forth in the Stipulation of Settlement dated
  9 December 14, 2017 and filed herewith. The Stipulation resolves all shareholder
 10 derivative claims in the above-captioned shareholder derivative action pending before
 11 this Court.
 12          Plaintiff’s unopposed motion is based on the accompanying Memorandum of
 13 Points and Authorities in Support of Unopposed Motion for Preliminary Approval of
 14 Derivative Settlement, the Stipulation, the Declaration of Laurence M. Rosen in
 15 Support of Unopposed Motion for Preliminary Approval of Derivative Settlement
 16 (“Rosen Decl.”), and such additional evidence or argument as may be required by the
 17 Court.
 18          Local Rule 7-3 Conference of Counsel: Counsel for the parties have discussed
 19 this Motion and its subject matter on numerous occasions, including engaging in
 20 negotiations over several months, and executing the Stipulation on December 14,
 21 2017. Defendants do not oppose this Motion.
 22
      Dated: December 15, 2017             THE ROSEN LAW FIRM, P.A.
 23
 24                                        By: /s/ Laurence M. Rosen
                                           Laurence M. Rosen, Esq. (SBN 219683)
 25                                        355 South Grand Avenue, Suite 2450
 26                                        Los Angeles, CA 90071
                                           Telephone: (213) 785-2610
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                                           Facsimile: (213) 226-4684
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Case 2:15-cv-07568-SJO-MRW Document 53 Filed 12/15/17 Page 3 of 4 Page ID #:194




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  8                                      Attorneys for Plaintiff Lisa Doyle
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       NOTICE OF MOTION AND UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF DERIVATIVE
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  1                            CERTIFICATE OF SERVICE
  2        I, Laurence M. Rosen, hereby declare under penalty of perjury as follows:
  3        I am the managing attorney with The Rosen Law Firm, P.A., with offices at
  4 355 South Grand Avenue, Suite 2450, Los Angeles, CA, 90071. I am over the age of
  5 eighteen.
  6        On December 15, 2017, I electronically filed the following NOTICE OF
  7 MOTION AND UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
  8 DERIVATIVE SETTLEMENT with the Clerk of the Court using the CM/ECF
  9 system, which sent notification of such filing to counsel of record.
 10
 11 Executed on December 15, 2017.
 12                                                 /s/ Laurence M. Rosen
                                                    Laurence M. Rosen
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       NOTICE OF MOTION AND UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF DERIVATIVE
                                       SETTLEMENT
